Case 2:24-cv-00121-WBV-KWR Document 1-2 Filed 01/12/24 Page 1 of 21

4S

LEEFE | GIBBS
Attomeys and Counselors at Law
ONE LAKEWAY CENTER, SUITE 1470
3900 NORTH CAUSEWAY BOULEVARD

MICHAEL R. GELDER METAIRIE, LOUISIANA 70002 Writer's E-Mail Address:
. TELEPHONE: (504) 830-3939 mrgelder@leefegibbs.com

FAX; (504) 830-3998

December 8, 2023

United Specialty Insurance Company
Through its Agent, Terry Ledbetter
1900 L. Don Dodson Dr.

Bedford, TX 76021

VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED
9490 9112 0620 4469 0165 55

RE: Bourgogne Bywater, LLC v Certain Underwriters at Lloyds London, et al
CDC# 2023-09894 “F”
Petition for Damages
Our File: 10,474

To Whom It May Concern:

In accordance with the Long Arm Statute of the State of Louisiana, enclosed please find the
Citation and Petition advising United Specialty Insurance Company that it has been sued in the
above referenced matter. As the Clerk of Court indicates in its Citation, United Specialty Insurance

Company has thirty (30) days from the date of service in which to deliver its answer to the Clerk
under penalty of default.

Sincgrely,

ael R. Gelder

MRG/asr
Enclosure

Case 2:24-cv-00121-WBV-KWR Document 1-2 Filed 01/12/24 Page 2 of 21
ATTORNEY'S NAME: | Gelder, Michael R 30210

AND ADDRESS: 3900 N. Causeway Blvd Suite 1470, Metairie, LA 70002
CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO: 2023-09894 DIVISION: F SECTION: 14

BOURGOGNE BYWATER, LLC
Versus
CERTAIN UNDERWRITERS AT LLOYDS LONDON ET AL

CITATION - LONG ARM
TO: UNITED SPECIALTY INSURANCE COMPANY
THROUGH: THE LOUISIANA LONG ARM STATUTE ITS AGENT: TERRY L. LEDBETTER
1900 L. DON DODSON DRIVE, BEDFORD, TX 76021

YOU HAVE BEEN SUED:

You must either comply with the demand contained in the

PETITION FOR DAMAGES

a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA 70112, within thirty
(30) days after the filing in the record of the affidavit of the individual attesting to the manner of delivery made

through the "Long Arm Statute" under penalty of default.

ADDITIONAL INFORMATION

Legal assistance is advisable. If you want a lawyer and can’t find one, you may contact the New
Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/. This Referral Service
operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
1000.

*#####** COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********

IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA December 5, 2023

Clerk's Office, Room 402 CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Building The Civil District Court

421 Loyola Avenue fort e Parish of Orlean
New Orleans, LA 70112 Statelof LA Ne ee
by \

Jasmine Bryant\Deputy Clerk’

SHERIFF'S RETURN
(for use of process servers only)
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PETITION FOR DAMAGES PETITION FOR DAMAGES
ON UNITED SPECIALTY INSURANCE COMPANY ON UNITED SPECIALTY INSURANCE COMPANY
THROUGH: THE LOUISIANA LONG ARM STATUTE ITS AGENT: THROUGH: THE LOUISIANA LONG ARM STATUTE ITS AGENT:
TERRY L. LEDBETTER TERRY L, LEDBETTER
Retumed the same day by leaving same at the dwelling house, or usual place of abode, in the hands of
No a person of suitable age and
, discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of name and other facts connected with this service I leamed by interrogating
; . HIM/HER the said UNITED SPECIALTY INSURANCE COMPANY being
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f f Deputy Sheriff of
SERIAL NO. DEPUTY PARISH

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S e cti on 1 4 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS DISTRICT COURT

E-Filed

STATE OF LOUISIANA

BOURGOGNE BYWATER, LLC CASE NO.

DIVISION:
VERSUS

JUDGE:

+ + + *» © & &

CERTAIN UNDERWRITERS AT
LLOYD’S LONDON, INDIAN HARBOR *
INSURANCE COMPANY, QBE s
SPECIALTY INSURANCE COMPANY, *
STEADFAST INSURANCE COMPANY, *
GENERAL SECURITY INDEMNITY *
COMPANY OF ARIZONA, UNITED _*
SPECIALTY INSURANCE COMPANY, *
LEXINGTON INSURANCE COMPANY ,*
SAFETY SPECIALTY INSURANCE *
COMPANY, HDI GLOBAL SPECIALTY*
SE, & OLD REPUBLIC UNION *
INSURANCE COMPANY *

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FILED: DEPUTY CLERK:

PETITION FOR DAMAGES

NOW COMES, through undersigned counsel, BOURGOGNE BYWATER, LLC,
(“BOURGOGNE”), a Louisiana limited liability entity domiciled in the Parish of Orleans, State
of Louisiana and whose individual member owners include residents of the states of New York
and Connecticut, who with respect represents:

1.

Made Defendant herein are CERTAIN UNDERWRITERS AT LLOYD'S, LONDON,
who at all material times insured Plaintiff under policy number AMR-68973, (“LLOYDS”), a
UK syndicate whose agent for service of process in the United States is Lloyd’s America, Inc.
Attn: Legal Department, 280 Park Avenue, East Tower, 25" Floor, New York, New York,
10017.

2.

Made Defendant herein is INDIAN HARBOR INSURANCE COMPANY (“INDIAN
HARBOR”) who at all material times insured Plaintiff under policy number AMP7537615-00, a
Delaware corporation with principal offices in Connecticut & Pennsylvania whose registered
agent for service of process is the Louisiana Secretary of State, 8585 Archives Ave., Baton

Rouge, LA 70809.

VERIFIED

1 Jovan Gibson
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Section 14 * DISTRICT COURT

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Made Defendant herein is QBE SPECIALTY INSURANCE COMPANY (“QBE”) who
at all material times insured Plaintiff under policy number MSP-29205, a North Decota
corporation with principal offices in Wisconsin & New York whose registered agent for service
of process is the Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

4.

Made Defendant herein is STEADFAST INSURANCE COMPANY (“STEADFAST”)
who at all material times insured Plaintiff under policy number CCP1185997-00, an Illinois
corporation with principal offices in Illinois whose registered agent for service of process is the
Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

5,

Made Defendant herein is GENERAL SECURITY INDEMNITY COMPANY OF
ARIZONA (“GENERAL SECURIT Y”) who at all material times insured Plaintiff under policy
number 10T029659-19-00, an Arizona corporation with principal offices in Arizona and New
York whose registered agent for service of process is the Louisiana Secretary of State, 8585
Archives Ave., Baton Rouge, LA 70809.

6.

Made Defendant herein is UNITED SPECIALTY INSURANCE COMPANY (“UNITED
SPECIALTY”) who at all material times insured Plaintiff under policy number USI-26214-00, a
Delaware corporation with principal offices in Delaware and Texas whose registered agent for
service of process is the Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA
70809,

7

Made Defendant herein is LEXINGTON INSURANCE COMPANY (“LEXINGTON”)
who at all material times insured Plaintiff under policy number LEX-03704 1069-00, a Delaware
corporation with principal offices in Massachusetts & New York whose registered agent for
service of process is the Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA
70809.

8.
Made Defendant herein is SAFETY SPECIALTY INSURANCE COMPANY

(“SAFETY SPECIALTY”) who at all material times insured Plaintiff under policy number SSI-
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n’+a a Missouri corporation with principal offices in Missouri whose registered Agra for COURT
service of process is the Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA
70809.

9,

Made Defendant herein is HDI GLOBAL SPECIALTY SE (“HDI”) who at all material
times insured Plaintiff under policy number HAN-23569-00, a German entity with principal
offices in New York whose registered agent for service of process is the Louisiana Secretary of
State, 8585 Archives Ave., Baton Rouge, LA 70809.’

10.

Made Defendant herein is OL.D REPUBLIC UNION INSURANCE COMPANY (“OLD
REPUBLIC”) who at all material times Plaintiff under policy number ORAMPR008454-00, an
Illinois corporation with principal offices in Illinois whose registered agent for service of process
is the Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

11.

LLOYDS, INDIAN HARBOR, QBE, STEADFAST, GENERAL SECURITY, UNITED
SPECIALTY, LEXINGTON, SAFETY SPECIALTY, HDI, & OLD REPUBLIC (cumulative
referred to as the “SYNDICATE INSURER”) insured the property located at 2930 Burgundy
Street in New Orleans, Louisiana, 70117.

12,

Venue is proper relative to this matter in that this matter arises out of property insured

and located in the Parish of Orleans, State of Louisiana.
13.

At all relevant times, SYNDICATE INSURER insured the property located at 2930

Burgundy Street in New Orleans and operated by BOURGOGNE.
14.

Atall relevant times, SYNDICATE INSURER provided a policy of insurance to

BOURGOGNE which was at full force and effect on August 29, 2021 and which covered the

property against perils, including hurricanes, wind and hail.
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Section 14 i DISTRICT COURT

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On or about August 29, 2021, Hurricane Ida struck Louisiana and the City of New
Orleans as a powerful Category 4 hurricane causing major damage to structures across the city
and state of Louisiana.

16.

On or about August 29, 2021, Hurricane Ida caused significant damage to the 2930
Burgundy Street project, all of which was covered by the SYNDICATE INSURER’s insurance
policy.

17.

As a result of Hurricane Ida, BOURGOGNE sustained significant costs to repair physical
damage, additional costs and delays associated with the repair of the damage, loss of revenue,
loss of rents, and other extra expenses that were covered by the SYNDICATE INSURER’s
policy of insurance.

18.

While the SYNDICATE INSURER has substantially covered the repair of the physical
damage, there remain substantial sofi-cost expenses, that while covered by the insurance policy,
have not been tendered by the SYNDICATE INSURER.

19,

The SYNDICATE INSURER, in failing to properly adjust the BOURGOGNE claim, has

breached its contract with BOURGOGNE, causing damages in the form of covered hard and soft

expenses and losses that are covered by the insurance policy.

WHEREFORE, Bourgogne Bywater, LLC, Plaintiff, prays that after due proceedings
had, that:

1) There be judgment be in favor of BOURGOGNE BYWATER, LLC and against
CERTAIN UNDERWRITERS AT LLOYD’S LONDON, INDIAN HARBOR
INSURANCE COMPANY, QBE SPECIALTY INSURANCE COMPANY,
STEADPAST INSURANCE COMPANY,GENERAL SECURITY INDEMNITY
COMPANY OF ARIZONA, UNITED SPECIALTY INSURANCE COMPANY,

LEXINGTON INSURANCE COMPANY, SAFETY SPECIALTY INSURANCE
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Section 1 ACOMPANY, HDI GLOBAL SPECIALTY SE, & OLD REPUBLIC UNION) strict COURT

INSURANCE COMPANY for all damages sustained, as well as costs, expenses,
attorney’s fees and penalties;

2) Forall other just and equitable relief.

Respectfully Submitted:
\ wet | Gibbs

Michael R. Gelder, Bar No, 30210.
Suite 1470, 3900 No. Causeway Blvd.
Metairie, La. 70002

(504) 830-3939; Fax: 830-3998
Email: mreelder@leetegibbs.com
Attorney for Plaintiff, Bourgogne
Development, LLC

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PARISH OF ORLEANS
STATE OF LA

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STATE OF LOUISIANA
PARISH OF ORLEMRGPR 21 AN HE 32 =

CIVIL DISTRICT COURTELY IL,
DISTRICT COURT

IN RE: HURRICANE IDA CLAIMS FILED.

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SECTIONS racer

CASE MANAGEMENT ORDER

REGARDING CERTAIN PROPERTY DAMAGE SUITS ARISING FROM
HURRICANE IDA

On August 29, 2021, Hurricane Ida came ashore near Port Fourchon, Louisiana and left
destruction throughout south Louisiana as a major Category 4 Hurricane.' Major Frectemsftues
winds, with gusts in excess of 192 mph inflicted catastrophic damage throughout south

_ Louisiana and hurricane force winds impacted this Court's jurisdiction.? The causes of action .

arising therefrom may sometimes be referred to as “Hurricane Cases.”

In the aftermath of these catastrophic natural disasters, this Court recognizes the
likelihood of a high volume of insurance coverage-related litigation linked to the Hurricane.
In Act 318 of the 2021 Regular Session the Legislature of Louisiana amended the laws
expanding judicial authority related to special masters and mandatory mediation in cases

stemming from certain major disasters (“Act 318”)."

Act 318 authorizes this court to issue this CMO, this Court finds it warranted to best
accommodate the adjudication of Hurricane cases in this Court.’ Accordingly, this Court’s
aim continues to be the just and expedient resolution of these related matters, in spite of the .
increased strain on the Court’s resources, and with the primary goal of enabling the New

Orleans community to move forward with crucial recovery efforts, in the aftermath of the

Hurricane and the ongoing Coronavirus pandemic.

IT 1S WHEREBY ORDERED that this Case Management Order shall be immediately

' https://www.theadvocate.com/baton_rouge/news/article_Ocoldc86-0290-| lec-827¢6-6342102b8d5d.html
2 https://www.theadyocate,com/baton_rouge/news/business/article_10bb5488-11d0-] lec-82c3-
e3dd67be1l2ad. html https://www.nbcnews.com/news/us-news/live-blog/hurricane-ida-live-updates-8-
30-n1277989/ncerd1278026#liveBlogHeader

3 All causes of action concerning damage related to Hurricane Ida is subject to this Order, including
causes of action where the third-party demand or cross claim is a claim against an insurer by an insured
due to damage from the Hurricane,
4 Hurricane Ida qualifies pursuant to R.S. 13:4165(F)(1). A major disaster declaration was made by the
President for Orleans Parish in Hurricane Ida under FEMA Release No. HQ-21-181. Orleans Parish
qualified for individual assistance for the Hurricane (FEMA designation DR-4611-LA).

5 Yfurricane Ida ties Hurricane Laura for the strongest hurricane to hit Louisiana and the fifth strongest
Hurricane to hit the United States. Act 318 was enacted in the aftermath of Hurricane Laura and this CMO
is modeled extensively on the CMO successfully adopted by the 14" Judicial District Court following

Hurricane Laura,

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applicable to all Hurricane Cases currently pending or hereafter filed in this Court (Civil
District Court for the Parish of Orleans).
SECTION 1. DISASTER PROTOCOLS FOR INITIAL DISCLOSURES

The Court has reviewed the Disaster Litigation Initial Discovery Disaster Protocols
adopted by the United States District Court for the Western District of Louisiana, applicable
to all Hurricane Cases®-and the nearly identical Disaster Protocols implemented by the US.
District Court for the Southern District of Texas following Hurricane Harvey.’ These Disaster
Protocols call for prompt sharing of specific information to promote uniformity, to facilitate
prompt evaluation of each case, to foster ecmannication between the parties, and to facilitate
an expedited mediation procedure.

Accordingly, this Court has adopted the Disaster Protocols attached hereto as Exhibit
“A” in the Disaster Protocols Order and males them applicable to all Hurricane cases filed in

this Court. Additionally, IT_YS FOOREBY ORDERED that there shall be an automatic

extension of time to Answer in every Hurricane case until the 30" day after service of the

plaintiff's petition. No further extensions of time shall be granted except in exigent

circumstances.

Additionally, IT IS HEREBY ORDERED that the disclosures and exchange of

information required by the Disaster Protocols Order shall be due 45 days from the date that
defendant files responsive pleadings, This deadline may sometimes hereinafter be referred to
as the “Disclosure Deadline”. Even if the parties agree to further extension of time to file
responsive pleadings, the Disclosure Deadline shall be no more than 90 days from the service
of the petition unless the extension of the Disclosure Deadline is expressly extended by the
written consent of all parties or pursuant to an express Order of this Court to extend it.

IT IS FURTHER ORDERED that each party shall supplement their Initial

Disclosures at least twenty-one days prior to any scheduled mediation pursuant to the CMO.’

IT IS FURTHER ORDERED that all other discovery is stayed until certification of

the completion of the SSP. However, the Special Master may authorize limited formal

Shttps://www.lawd. uscourts.gov/sites/lawd/files/UPLOADS/Hurricane_Laura_Delta_CMO_1_Att_A_Dis
covery_Protocols.062121.tzd_0.pdf
7 United States District Court for the Southern District of Texas, Disaster Litigation In itial Discovery

Protocols, available at
https://www.txs.uscourts.gov/sites/txs/files/Disaster%20FINAL%20Web%20version.pdf

8 If the Special Master finds a production under the Disaster Disclosures too voluminous or disorganized
to be useful for the SSP, he may require that the Disaster Disclosures be bates numbered and organized

with a Table of Contents.
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discovery during the SSP in extraordinary circumstances.”

SECTION 2. PRIVILEGE

Documents for which a privilege may properly be asserted include communications
that reflect the mental impressions, conclusions, opinions, or theories of an attorney.'°
Elowever, as recognized by federal courts concerning hurricane rues “Documents routinely
prepared in the ordinary course of business, including but not limited to adjusters' reports, and
other expert analyses, including draft reports, are not privileged and should be produced.”!!

Therefore, IT IS FURTHER ORDERED that any party withholding disclosure of

any information or documents, where said disclosure is required pursuant to the Disaster
Protocols, shall produce a privilege log to opposing counsel on or before the Disclosure
Deadline. This privilege log shall detail all information or documents that it declined to
produce on the basis of that the material is privileged. The log should include: the author(s)
of the document, the recipient(s) of the document (including direct recipients and recipients
copied), indication (e.g., with an asterisk) of which individual(s) (authors and recipients) are
attorneys (or paralegals or other legal staff carrying out a legal function for an attorney), the
date of the document, subject line of the document, title of the document, the nature of any
privilege(s) asserted, and a description of the document (over which a privilege is asserted) in
a manner that, without revealing information itself privileged or protected, will enable the
Special Masters and/or,.the Court to assess the claim.

Any dispute concerning privileged items shall be referred to the Special Master. If a
motion to compel related to the privilege log is filed, or if any other privilege dispute is raised
with the Special Master, the disputed items shall be provided to the Special Master in camera
within ten days. The Special Master or his designated deputy shall provide all parties with a
report and recommendation concerning the claimed privilege.

If neither party opposes the sect and recommendation within seven days of its receipt

then the Court may issue an Order confirming it. If either party opposes the report and

- The parties are encouraged to make requests for limited discovery in complex cases when
necessary to effectively participate in the SSP outlined herein.

10 La, C.C.P. art. 1424(A)
UU United States District Court for the Western District of Louisiana, Jn Re Hurricane Laura and Delta
Cases: Case Management Order No. 1, p.3, available at

https://www. lawd.uscourts.gov/sites/lawd/files/U PLOADS/Hurricane_Laura_Delta_CMO_].012221.tzd.
pdf ,

United States District Court for the Eastern District of New York, Jn Re Hurricane Sandy Cases: Case
Management Order No. 1, p. 10, available at https://img.nyed.uscourts.gov/files/general-
ordes/14mc41cmo01.pdf.
Case 2:24-cv-00121-WBV-KWR" “Document 1-2 “filed 01/12/24 Page 11 of 21

recommendation within seven days of its receipt then the report shall be transmitted to the
Court by the Special Master together with the in camera ‘documents. The opposing party may
file a memorandum conceming the report and recommendation within seven days of receiving
the report, and any other party may file a response within five days of the filing of the
opposition.

SECTION 3. SPECIAL MASTER AND APPOINTED NEUTRALS

Considering the foregoing reasons supplied by the Court in the introduction injra, the
Court finds that exceptional circumstances exist which warrant the appointment of a'Special
Master to assist with the efficient and fair administration of all Hurricane Cases, Pursuant to
- the Court’s inherent judicial power and its authority under La. R.S. 13:4165, et seq, it is
ordered that THE COURT HEREBY APPOINTS EL. JOHN LITCHFIELD, ESQ. AND
CADE R. COLE, ESQ. as the Special Masters for Hurricane Cases in the Orleans Civil
District Court.

As part of their appointment, the Court mandates that the Special Masters shall proceed
with all reasonable diligence and shall-exercise their respective rights and responsibilities to
direct the Streamlined Settlement Process as provided in this Order.

ITIS FURTHER ORDERED that the Neutrals, referenced in Section 4(11)(B), supra,

are hereby appointed and shall proceed with all reasonable diligence and shall exercise their
rights and responsibilities under the Streamlined Settlement Process (“SSP”) as the Special

Master-may direct.
I The Special Masters

The Special Masters shall administer, coordinate, and preside over the SSP.
This authority includes the power to order parties and/or party representatives with full
power of settlement to submit briefing, engage in discovery, and attend settlement
conferences. The Special Masters may enter any other order to effectuate the
provisions of the SSP, subject to the review and control of the Court.

I Compensation of Appointed Neutrals

The Special Masters and all other appointed neutrals under the SSP (the
“Appointed Neutrals”) shall be compensated in the amount of:

A. $400 per hour;

B. $280 per case for the Special Masters for administrative expenses in
administering, scheduling, organizing, and coordinating the Streamlined
Settlement Process for each case amongst the parties as well as with the
Appointed Neutrals; and

C. all actual expenses of the Appointed Neutrals, including but not limited to
travel, meeting rooms, telephone, and electronic audio or video conference
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means.

Unless otherwise directed by mutual agreement of the parties or as otherwise
directed by the Special Masters, all of the above fees and expenses shall be paid
twenty-five percent (25%) by the plaintiff(s) and seventy-five (75%) by the
defense(s).'? If the claim settles for $25,000 or less, then 100% of the above fees and
expenses shall be paid by the defense(s).

IT IS FURTHER ORDERED that $70 of the administrative fee provided for
in Section II(B) shall be added to the cost of filing the petition, collected by the clerk
of court, and remitted monthly to the Special Masters; and that $210 of the
administrative fee provided for in Section II(B) shall be added to the cost of the first
notice or filing by the defendant, collected by the clerk of court, and remitted monthly

to the Special Masters.

WI. Role of Appointed Neutrals

A. The Special Masters and Appointed Neutrals may communicate ex parte with
the Court when deemed appropriate by the Special Masters, at the Special
Masters’ discretion, without providing notice to the parties, including
communication certifying that the parties have complied with the requirements

of the SSP.

B. The Special Masters and Appointed Neutrals may initiate contact and
communicate with counsel for any party as he or she deems appropriate with
respect to the efficient administration and management of the SSP.

C. The Special Masters and Appointed Neutrals, the parties, and those assisting
the foregoing shall be bound by the confidentiality of the settlement

discussions.

D. The Special Masters may designate any of the Appointed Neutrals to act as his
deputy from time to time and to perform any duties of the Special Masters.

EB. Ifan Appointed Neutral reports that a case did not settle due to a party’s failure
to comply with its obligations under the Disaster Protocols, including the
obligation to supplement the Disaster Disclosures at least twenty-one (21) days
ptior to the mediation, the Special Master may order another mediation and may
assess the full cost of the first mediation against the party in violation.

IV. Notice to the Special Masters.

Any party to a Hurricane Case may file a motion with the assigned District
Judge requesting an opt out from the SSP only for good cause shown within the
applicable deadline (see Section 4 below). IT JS FURTHER ORDERED that any
party filing an opt out motion shall copy the Special Masters, and that the parties shall
provide notice of the Court’s Order on the motion to opt out to the Special Masters

whether the motion to opt out is granted or denied.

IT IS FURTHER ORDERED that counsel for any party to a Hurricane Case
that has been provided-a copy of this Order shall be required to provide email notice
to the Special Masters of the initial pleadings and all subsequent filings in any
Hurricane Case (knowledge of this provision is presumed where a counsel for the party
has been provided a copy of this Order for a case for that party or any other party).
The Special Masters’ shall send an Initial Informational Package on the SSP to all
parties and/or counsel of record for Hurricane Cases subject to the SSP.

2 Tn instances where an insurer of an insured has filed suit against the insured concerning a Hurricane case
the insured shall be considered the plaintiff for the purposes of the cost split under this order and the insurer
shall be considered the defendant. It is generally customary in the évent of settlement that a condition of
settlement be that the insurer pays court costs and costs of the SSP/mediation.

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Case 2:24-cv-00121-WBV-KWR Document 1-2 Filed 01/12/24 Page 13 of 21

SECTION 4. STREAMLINED SETTLEMENT PROCESS (“SSP”)

Within 15 days of the filing of the defendant’s responsive pleading (or within 15 days
of the receipt of a copy of this Order by the defendant or its counsel, including by electronic
or other means — whichever is later), either party may file a motion to opt out of this
Streamlined Settlement Process for good cause shown. This motion may be decided on the
briefs without hearing. Unless the Court authorizes an opt out, then the parties shall participate
in the two-staged Streamlined Settlement Process, which is described as follows:

I. First Stage: Settlement Conference

Within 45 days of the Disclosure Deadline in all Hurricane Cases, all parties
shall conduct an informal settlement conference (“ISC”) among all parties and their
counsel. Within 15 days of the Disclosure Deadline counsel shall meet to confer and
discuss a mutually convenient time, date, and manner for the conference. In light of
the COVID-19 pandemic as well as the desire to resolve the Hurricane Cases as
expeditiously as possible, settlement conferences should be conducted, where possible,
by phone or audiovisual communication, including but not limited to Zoom, Skype, or

similar platforms.

Counsel for each plaintiff and for each defendant must have full authority to
resolve the case from their clients, who shall be readily available by telephone if
circumstances for the ISC require assistance. .

The ISC shall include a particularized demand from the plaintiff that is itemized
by each claimed policy coverage category then known to be remaining in dispute .
and/or any existing demand for extra-contractual damages that are then claimed to be
incurred. The demand shall be submitted by email to the opposing counsel on the form
attached as Exhibit “C” at least 72 hours prior to the scheduled ISC.

The attorney for the insurer will conduct a call prior to the ISC with the relevant
client representative to ensure the client representative has reviewed the ISC demand.
The client representative will inform their counsel concerning additional information
requested to evaluate the claim, and their counsel shall convey that to opposing counsel
at the ISC or in writing. The insurer shall submit by email to the opposing counsel an
itemization of the prior payments awarded by coverage category on the form attached
as Exhibit “D” at least 48 hours prior to the scheduled JSC.

The defendant shall respond at the ISC to briefly detail why it does not agree
with the demand by category. The plaintiff may request that this response be reduced
to writing, and if requested it shall be answered within 15 days of the ISC.

All ISC communications shall be covered by mediation confidentiality. The
Special Masters may order any particular modifications in this protocol for specific
cases, parties, or attorneys.

I. Second Stage: Mediation

Cases that do not resolve during the initial settlement conference shall be set
for a formal mediation. The parties shall provide the Special Masters written notice
(including by email and preferably jointly) of completion of the First Stage along with
a request for mediation. The Special Masters may assign a neutral within 60 days of
the Disclosure Deadline even if neither party submits the written noticé. The Special
Masters shall then assign each Hurricane Case to an Assigned Neutral, and it is the
goal that Assigned Neutrals complete mediation within 90 days of appointment. The
Special Masters (or Appointed Neutral for the case) may set a scheduling conference,
or communicate with counsel about availability through other means, but shall seek to
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schedule the mediations in an expeditious manner at mutually convenient times and
dates for all parties. In the event a counsel provides an insufficient number of available
dates the Special Masters may authorize an extension of the SSP period for that case
or may require mediation on a date selected by the Special Masters, including on a

weekend day. -

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A. Conduct of Mediation

After scheduling of an agreed mediation, counsel for each party shall

submit confidential statements solely to the appointed neutral. The appointed
neutral shall determine, after conferring with the parties, on the length of the
confidential mediation statements and the permissible number of exhibits’

attached thereto.

Plaintiff(s) shall be present in-person. along with counsel (subject to
accommodations approved by the case’s Appointed Neutral). Defense counsel
shall also attend in-person. A representative from defendant(s) is encouraged to
attend, but unless otherwise directed by the Special Masters the defendant(s)
representative shall not be required to attend if counsel for the defendant has
full authority to resolve the case. In addition, a representative of the defendant
shall be readily available by telephone or video communication, if
circumstances for that particular mediation require assistance.

To the extent agreed by the parties and the case’s Appointed Neutral,
this mediation conference may be conducted by phone or other means of
electronic audio or video communication, including but not limited to Zoom,

Skype, or similar platforms.

As part of this Streamlined Settlement Process, the attendees may be invited
each make opening statements but there shall be no live witness testimony.

B. List of Neutrals

The Court hereby initially designates and appoints the following
individuals as “neutrals” (mediators / appointed neutrals) for the SSP:

The Special Masters and any other person qualified pursuant to R.S.
13:4165(F)(5) that is designated by the Special Masters after
consultation with the Court (including those identified in the attached

list).

C. Neutral Training

The Special Masters may undertake to provide special training to the
neutrals, including coordinating participation in training prepared for the
Streamlined Settlement Process. The Special Masters may form a plaintiffs’
liaison committee and a defense liaison committee or may coordinate with any
related Federal Court liaison committees for Hurricane Cases. If formed, the
Special Masters may solicit input and responses concerning commonly
occurring legal issues that the liaison committees, from experience, believe may
arise in a large number of these cases, along with relevant case law or other .
authority addressing these issues. While the ultimate determination of any such
common issue may well be fact driven, and the outcome of any legal issue will
be determined-by the Court, the Special Masters may seek this information in
order to educate and fully prepare the appointed neutrals with the hope of
expediting the settlement process. The Special Masters may facilitate
discussions by and among the appointed neutrals to promote, to the extent
possible, consistency in the resolution of cases.

Extensions of Time

Upon a joint request by the parties, or for other good cause shown, the Special
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Masters may modify any deadline specified in this Order.

SECTION 5. COURT APPOINTED UMPIRES REQUIRED UNDER
POLICIES :

If an insurance policy implicated in a Hurricane Case provides for court appointment
of a neutral or third appraiser for valuation disputes (hereinafter referred to as an “Umpire”),
any request for the appointment by this Court of an Umpire shall only occur if the parties have
_ been unable to agree on their own.

Any request for the appointment by the Court of an Umpire shall be made in writing
no later than the deadline for filing of the defendant’s responsive pleading. Any motion or
request for this Court’s appointment of an Umpire shall be submitted to the Special Masters
via email at Hurricanelda@colelaw.us and jlitchfield@berriganlaw.net . This deadline may be
extended by a Special Master in exceptional circumstances for good cause.

If a requesting party is seeking court appointment of an Umpire and no case is
otherwise filed or pending before this Court (an “Umpire Only Filing”), then the parties shall
follow the same procedures.

An Insurer is required to provide written notice of the request to any known counsel
for the Insured (or directly to an unrepresented Insured). An Insured is required to provide
written notice of the request to any known counsel of Insurer (if any) or alternatively to the
Insurer’s primary point of contact on the claim with Insured. The appraisers previously

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selected by each party shall also be provided notice, and their contact information (phone and
email address) shall be provided in the request for appointment of an Umpire.

A written report and recommendation concerning the Umpire’s appointment shall be
issued to the parties and shall be deemed applicable to the parties in the same manner as if
made by an order of the Court unless the report and recommendation is overturned by the
assigned District Judge for good cause following a motion opposing the report and
recommendation filed within seven days of transmittal of the written report and
recommendation. Alternatively, a Special Master may issue the report and recommendation
to the Court, and the Court may directly issue an Order concerning the appointment.

IT IS ORDERED that the appraisers appointed by the parties are required to complete
their worl and submit ay disputes to the Umpire no later than 60 days following the first

Initial Disclosure Deadline under this Order (105 days following the filing of the defendant's
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responsive pleadings). The appointed Umpire shall issue his report no later than 21 days from
the submission of the iifepues to the Umpire. This period may be modified by the Special
Masters upon a showing of good cause. . ,

SECTION 7. CLERK OF COURT AND NOTICE

A Plaintiff filing a Hurricane Case should note on its cover letter, in ALE CAPS and
RED FONT, that the matter is a “HURRICANE CASE”. Each caption and on each pleading,
“FTURRICANE CASE” in bold print shall follow the docket number. Ifa Special Master
learns the Order has not been entered by the Clerk of Court, he shall serve it on the parties by
email and may file proof of the same into the record at no cost.

In all subsequently filed Hurricane Cases, a copy of shits ender shall be served on the
defendant(s) along with the Petition and Citation. The Clerk of Court shall include a reference
that the Case Management Order is served with the Petition in the Citation issued. The Clerk
of Court shall also provide a copy to the plaintiff by any authorized means.

The Clerk of Court shall transmit via email, at least weekly, to the Special Masters the
docket numbers, case caption, and attorney contact information for any Hurricane Cases filed.

Any party making any filing or submitting any memoranda ina Hurricane Case subject
to this Order shall serve a courtesy copy on the Special Masters in the same manner as enrolled
counsel via email at HurricaneIda@colelaw.us and jlitch field@berriganlaw.net.

SECTION 7. COURT SUPERVISION

The Disaster Protocols and Streamlined Settlement Process shall, at all times, be

subject to the ultimate control and supervision of the Court. This Case Management Order for

Hurricane Cases is subject to modification pursuant to further orders of this Court. All

provisions of this Order shall be applicable to all Hurricane Cases whether then pending

or thereafter filed.

Di trict Judge, Divisi(n A

HON. SDBNEY FE. Pest HOW. NAKISHA ERVIN-KNOTT
District Judge, Division C DistNct Judge, Division D
Case 2:24-cv-00121-WBV-KWR_ .Document 1-2 Filed 01/12/24 Page 17 of 21

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Chief Judge and Dist udge, Division K - District fudge, Division L
FION. PAULETTE R. IRONS FION. ETHEL S. JULDYY/
District Judge, Division M District Judge, Division Ney

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. Case 2:24-cv-00121-WBV-KWR_ Document 1-2: Filed 01/12/24 Page 18 of 21

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IN RE: HURRICANE IDA CLAIMS: STATE OF LOUISIANA FILED
: PARISH OF ORLEAMES APR 21 “At ese
CIVIL DISTRICT COURT yy)
DISTRICT GOURT
EXHIBIT “B”

STIPULATION FOR MEDIATION

IT IS HEREBY STIPULATED AND AGREED by and between the undersigned
parties:

I. The parties agreed to submit their dispute to mediation pursuant to the SSP, as
specified in the Case Management Order (and any relevant supplements).

2 No party shall be bound by anything said or done during the mediation, unless
either a written and signed stipulation is entered into or the parties enter into a
written and signed agreement. The appointed neutral may meet in private
conference with less than all parties. Information obtained by the neutral, either in
written or oral form, shall beconfidential and except as provided by Order of the
Court it shall not be revealed by the neutral unless and until the party who provided

the information agrees to its disclosure.

3. The mediation process, for the purpose of all federal and state rules protecting
disclosures made during such conferences from later discovery or use in evidence,
shall be considered a settlement negotiation. The entire procedure shall be
confidential, and no stenographic or other record shall be made except to
memorialize a settlement record. All communications, oral or written, made during
the mediation by any party or a party's agent, employee, or attorney are confidential
and, where appropriate, are to be considered work product ‘and privileged. Such
communications, statements, promises, offers, views and opinions shall not be
subject to any discovery or admissible for any purpose, including impeachment, in
any litigation or other proceeding involving the parties. However, any evidence
which would otherwise subject to discovery or admissible shall not be excluded
from discovery or admission in evidence solely because it has been referenced or

discussed dhiring this mediation process.

4, The appointed neutral and their agents shall enjoy the same immunity as judges and
court employees, whether under federal or state law, for any act or omission in
connection with the mediation, and from compulsory process to testify or produce

documents in connection with the mediation.

5 The parties shall not:
af Case 2:24-cv-00121-WBV-KWR .Document 1-2 Filed 01/12/24 Page 19 of 21

* .

(i) Call or subpoena the appointed neutral as a witness or expert in any proceeding
relating to: the mediation, the subject matter of the mediation, or any thoughts
or impressions which the appointed neutral may have about the parties in the
mediation; ,

(ii) Subpoena any notes, documents or other material prepared by the appointed
neutral in the course of or in connection with the mediation; and

(iii) Offer into evidence any statements, views or opinions of theappointed neutral.

6. The appointed neutral’s services have been made available to the parties through
the dispute resolution procedures sponsored by the Court. In accordance with those
procedures, the appointed neutral represents that he or she has taken requisite oaths.

7. Any party to this Stipulation is required to attend at least one session and as may be
directed by the Special Masters as many other sessions thereafter as may be helpful in

resolving this dispute.

8. An individual with final authority to settle the matter and to bind the party shall
attend the mediation on behalf of each party. .

PLAINTINE COUNSEL FOR PLAXNTIFE
Date: Date:

DEFENDANT COUNSEL FOR DEFENDANT
Date: Date:

CONSENTED TO BY:

NEUTRAL APPOINTED BY THE COURT

Date:

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IN RE: HURRICANE IDA CLAIMS: STATE OF LOUISIARALED -
: PARISH OF ORWEAMS9 1 AN Ii: 39
CIVIL DISTRICT COURT, .
SGTRTE 7
DISTRICT COURT
EXHIBIT “Cc” ‘8

FORM FOR ISC DEMAND BY INSURED

Category Policy Limits Damage(s) Prior Payments ISC DEMAND

A. Property

B. Other Structures
C. Personal Property
D. ALE

Claim for Statutory Bad Faith Penalties on Late Prior Payments
Claim for Statutory Bad Faith Penalties on ISC Demand
Claim for Attorney’s Fees

Total Claim for Other Damages (describe below):

TOTAL

This demand is for the purposes of mediation only and is covered by mediation confidentiality. It
may not be used for any other purpose. It is rescinded if the case does not settle as part of the SSP.
The plaintiff reserves the right to modify the demand based on changes in circumstances or
supplemental information. The plaintiff reserves the right to asserts claims for expert costs, judicial
interest, and mental anguish / economic damages and related penalties pursuant to RS. 22:1973
at any trial of this matter even if théy are not listed above.
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IN RE: HURRICANE IDA CLAIMS: STATE OF LOUISIARAL ED: “

PARISH OF ORLEANS 9) yy 32
| CIVIL DISTRICT COURT ”

DIVIL -
EXHIBIT “D” DISTRICT-COURT
FORM FOR ISC DETAIL OF PAYMENTS BY INSURER
Category Policy Limits Prior Payments . Date(s)
A. Property

B. Other Structures
C. Personal Property
D. ALE

OTHER:

Other Detail:

TOTAL
